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VIA ECF

Hon. John G. Koeltl
United States District Judge
United States District
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:      Mercer Health & Benefits LLC v. DiGregorio, et al.,
         Case No. 18-cv-01805 (JGK)

Dear Judge Koeltl:

        As counsel for Plaintiff Mercer Health & Benefits LLC (“Mercer”), we write in opposition
to Defendants’ March 14, 2018 letter motion seeking modification of the temporary restraining
order entered by Judge Engelmayer on March 1, 2018 (ECF No. 5). In compliance with the
Court’s order, on March 2, 2018 Plaintiff served the Declaration of Cory Lynn and a list of
prospective clients of Mercer with whom one or more of the Individual Defendants had contact
or from whom one or more of the Individual Defendants solicited business on behalf of Mercer
during the last two years of his or her employment with Mercer. As set forth in Mr. Lynn’s
declaration, to compile the list, Mercer reviewed its SalesForce.com database which it uses to
track prospective client contacts, leads and development activities, and listed each client for
whom one or more of the individual Defendants entered a note concerning their prospective
client communications. Accordingly, Mercer complied the list it submitted to Defendants and the
Court based on the Individual Defendants’ own database entries.

        There is no need to modify the temporary restraining order. The temporary restraining
order is in effect for just one more day. Further, Plaintiff has offered Mr. Lynn for deposition
and intends to call him as a witness at the preliminary injunction hearing. Defendants can seek
to challenge the factual bases underlying the declaration with Mr. Lynn during his testimony.

Respectfully,

/s/ A. Michael Weber

A. Michael Weber

cc:      All counsel of record



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